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                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                    PORTLAND DIVISION



 DANIEL WALKER, individually and on behalf
 of all others similarly situated,

                    Plaintiff,                                 Case No. 3:17-cv-01791-YY

        v.                                                     FINDINGS AND
                                                               RECOMMENDATIONS
 FRED MEYER, INC., a Delaware corporation,

                    Defendant.


YOU, Magistrate Judge:

                                           FINDINGS

       Plaintiff Daniel Walker (“Walker”), individually and on behalf of all others similarly

situated, filed the initial complaint in this matter on November 8, 2017, against defendant Fred

Meyer (“Fred Meyer”) for alleged violations of the Fair Credit Reporting Act (“FCRA”),

15 U.S.C. § 1681 et seq. Compl., ECF 1. Fred Meyer filed a motion to dismiss Walker’s claims

under Federal Rule of Civil Procedure 12(b)(6) and for lack of standing, and this court granted

Fred Meyer’s motion on both grounds. ECF 47. On March 23, 2020, the Ninth Circuit issued an

opinion affirming this court’s decision in part, reversing in part, and remanding the case for

further proceedings. Walker v. Fred Meyer, Inc., 953 F.3d 1082, 1095 (9th Cir. 2020).




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        On remand, Fred Meyer has filed a motion for partial summary judgment seeking a

declaration that, as a matter of law, (1) its disclosure was “clear and conspicuous” under the

FCRA, and (2) it did not act “willfully” in failing to comply with the standalone requirement for

disclosures under the FCRA. Def.’s Mot. Partial Summ. J. 1 (“Mot.”), ECF 57. The court has

considered the parties’ briefing, as well as oral argument. The court also accepted supplemental

authority to help clarify the issues.

        For the reasons discussed below, Fred Meyer’s motion for partial summary judgment

should be GRANTED.

I.      Background

        The uncontested factual background of this case is set forth in this court’s prior order and

the Ninth Circuit’s opinion, and therefore is not repeated here. See Walker, 953 F.3d at 1084-86;

ECF 47.

II.     Summary Judgment Standard

        Under Federal Rule of Civil Procedure 56(a), “[t]he court shall grant summary judgment

if the movant shows that there is no genuine dispute as to any material fact and the movant is

entitled to judgment as a matter of law.” The party moving for summary judgment bears the

initial responsibility of informing the court of the basis for the motion and identifying portions of

the pleadings, depositions, answers to interrogatories, admissions, or affidavits that demonstrate

the absence of a triable issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).

Once the moving party does so, the nonmoving party must “go beyond the pleadings” and

“designate ‘specific facts showing that there is a genuine issue for trial.’” Id. at 324 (citing

FED.RULE.CIV.P. 56(e)).




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       In determining what facts are material, the court considers the underlying substantive law

regarding the claims. Anderson v. Liberty Lobby, 477 U.S. 242, 248 (1986). Otherwise stated,

only disputes over facts that might affect the outcome of the suit preclude the entry of summary

judgment. Id. A dispute about a material fact is genuine if there is sufficient evidence for a

reasonable jury to return a verdict for the non-moving party. Id. at 248-49. A “scintilla of

evidence” or “evidence that is merely colorable or not significantly probative” is insufficient to

create a genuine issue of material fact. Addisu v. Fred Meyer, Inc., 198 F.3d 1130, 1134 (9th Cir.

2000). The court “does not weigh the evidence or determine the truth of the matter, but only

determines whether there is a genuine issue for trial.” Balint v. Carson City, Nev., 180 F.3d 1047,

1054 (9th Cir. 1999). “Reasonable doubts as to the existence of material factual issue are

resolved against the moving parties and inferences are drawn in the light most favorable to the

non-moving party.” Addisu, 198 F.3d at 1134 (citation omitted).

III.   Fred Meyer’s Motion For Partial Summary Judgment Presents Questions of Law.

       The FCRA forbids procurement of a consumer report for employment purposes unless “a

clear and conspicuous disclosure has been made in writing to the consumer . . . in a document

that consists solely of the disclosure.” 15 U.S.C. § 1681b(b)(2)(A)(i). The latter phrase

constitutes the so-called “standalone” provision.

       Fred Meyer asks this court to determine (1) whether it satisfied the “clear and

conspicuous” requirement under § 1681b(b)(2)(A)(i), and (2) whether its violation of §

1681b(b)(2)(A)(i)’s “standalone” requirement constituted “willful noncompliance” under




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§ 1681n(a). 1 Fred Meyer asserts that these two issues “involve pure questions of law falling

squarely within the purview of the Court.” Mot. 8, ECF 57.

       Walker, however, argues that the question of willfulness “has been presented to juries in

the Ninth Circuit considering FCRA claims” and “appears to be a mixed question of law and

fact.” Pl.’s Resp. Def.’s Mot. Partial Summ. J. 5 (“Resp.”), ECF 58 (citing Ramirez v.

TransUnion, LLC, 951 F.3d 1008, 1030-32 (9th Cir. 2020)). Walker concedes that “the Court

may decide the issue of willfulness as a matter of law, especially ‘when conduct is so patently

violative of the FCRA that any reasonable person would know without that [the] interpretation

was erroneous.’” Id. (citations omitted). But, Walker argues, “if there is any doubt, the question

should not be resolved on summary judgment and instead should be left to the jury—and a

reasonable jury here could find in Plaintiff’s favor.” Id. (citing Ramirez, 951 F.3d at 1031-32).

Walker reads too much into Ramirez v. TransUnion and overlooks authoritative precedent.

       In Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47 (2007), the Supreme Court noted that there

“was no need for [the Ninth Circuit] to remand the cases for factual development” after the court

ruled, as a matter of law, that a defendant’s violations of the FCRA were not willful under

15 U.S.C. § 1681n(a). Id. at 71. Further, in Syed v. M-I, LLC, 853 F.3d 492 (2017), the Ninth

Circuit applied Safeco’s willfulness analysis to an alleged FRCA violation and noted, “[w]e may

resolve this as a matter of law, as the parties acknowledge.” Id. at 503; see also Mitchell v. Winco

Foods, LLC, 379 F. Supp. 3d 1093, 1101 (D. Idaho 2019), appeal dismissed, 828 F. App’x 467

(9th Cir. 2020) (holding that the issue of willfulness under FRCA § 1681n(a) is properly decided

“as a matter of law”); Newton v. Bank of Am., Nat’l Ass’n, No. 2:14-cv-03714-CBM-MRWx,



1
  To recover statutory damages for a violation of the FCRA—as Walker seeks to do in the
present action—the plaintiff must show that a defendant willfully failed to comply with the
statute. See 15 U.S.C. § 1681n(a).


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2015 WL 10435907, at *2 (C.D. Cal. May 12, 2015) (finding no genuine issue of material fact

regarding the question of defendant’s willfulness under FRCA § 1681n(a)).

          Although Walker does not argue this point, it is equally within this court’s purview to

determine whether, as a matter of law, Fred Meyer’s disclosure was “clear and conspicuous”

under the FCRA. See 15 U.S.C. § 1681b(b)(2)(A)(i). In Gilberg v. California Check Cashing

Stores, LLC, 913 F.3d 1169 (9th Cir. 2019), the court found the disclosure at issue was unclear

and noted, “we assume . . . without deciding that clarity and conspicuousness under FCRA

present questions of law rather than fact.” Id. at 1177; see also Mitchell, 379 F. Supp. 3d at 1100

(citing Gilberg and finding the challenged disclosure both “clear” and “conspicuous” as a matter

of law under the FCRA).

          Thus, both the question of Fred Meyer’s willfulness and whether its disclosure was clear

and conspicuous may be properly decided by this court as a matter of law if there is no genuine

issue of material fact.

IV.       Fred Meyer’s Disclosure Was Clear and Conspicuous.

          Again, 15 U.S.C. § 1681b(b)(2)(A)(i) forbids procurement of a consumer report for

employment purposes unless “a clear and conspicuous disclosure has been made in writing to the

consumer . . . in a document that consists solely of the disclosure.” Although the “clear and

conspicuous” requirement imposes a single statutory obligation, “[courts] may analyze each

prong separately.” Gilberg, 913 F.3d at 1177 (citing In re Bassett, 285 F.3d 882, 885 (9th Cir.

2002)).

          The phrase “clear and conspicuous” is not defined in the FCRA, but the Ninth Circuit has

held that a disclosure is “clear” when it is “reasonably understandable,” and a disclosure is




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“conspicuous” when it is “noticeable to the consumer.” 2 Gilberg, 913 F.3d at 1176 (internal

quotation marks omitted). In Gilberg, the court found that defendant CheckSmart’s disclosure

was unclear because (1) it contained language that “a reasonable person would not understand”

and (2) “[it] would confuse a reasonable reader because it combines federal and state

disclosures.” Id. at 1177. The court noted in particular that the CheckSmart disclosure contained

an incomplete and grammatically incorrect sentence that failed to explain the term “all-

encompassing” or “how [it] would affect an applicant’s rights.” 3 Id.

       In Luna v. Hansen & Adkins Auto Transp., Inc., the Ninth Circuit cited the Gilberg

factors and quickly held that the contested disclosure was both “‘clear and conspicuous’”

because it provided the FCRA-mandated notice in “plain language” and in a “‘reasonably

understandable form.’” 956 F.3d 1151, 1153-1154 (9th Cir. 2020) (citations omitted). The court

also found the disclosure met the standard for conspicuousness and particularly noted the use of

headings, bold text, and capitalized letters. Id. at 1154.

       In Mitchell, the Idaho District Court analyzed defendant Winco’s disclosure form at

greater length and found it “distinguishable from the disclosure in Gilberg because it does not

‘contain language that a reasonable person would not understand.’” 379 F. Supp. 3d at 1099.




2
 The Ninth Circuit noted, “[w]e adopt our ‘clear and conspicuous’ analysis from Rubio v.
Capital One Bank, 613 F.3d 1195 (9th Cir. 2010), a TILA disclosure case[,]” explaining, “[l]ike
other circuits, we draw upon the wealth of Uniform Commercial Code (UCC) and Truth in
Lending Act (TILA) case law[.]” Gilberg, 913 F.3d at 1176 (internal quotation marks and
brackets omitted).
3
 This problematic section of the disclosure in Gilberg provided: “The scope of this notice and
authorization is all-encompassing; however, allowing CheckSmart Financial, LLC to obtain from
any outside organization all manner of consumer reports and investigative consumer reports now
and, if you are hired, throughout the course of your employment to the extent permitted by law.”
913 F.3d at 1177.



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Specifically, the Winco disclosure did not contain the kind of “vague phrases,” grammatical

errors, or additional disclosures that rendered the disclosure “unclear” in Gilberg. Id. Instead, the

court noted, the disclosure “contains eight concise sentences” that provide information

“necessary to sufficiently disclose to the applicant the scope of the data collection activity and

their rights with respect to what is collected.” 4 Id. at 1100. Thus, Winco’s disclosure was




4
    Winco’s disclosure provided as follows:

         WinCo Foods . . . will procure a consumer report and/or investigative consumer
         report on you in connection with your application for employment, volunteer
         service, or a contracted position, including promotion or retention as an employee,
         volunteer or independent contractor, as applicable.

         TalentWise, Inc., a consumer reporting agency, will obtain the report for the
         Company. Further information regarding TalentWise, including its privacy policy,
         may be found online at www.TalentWise.com. TalentWise is located at 19910
         North Creek Parkway, Suite 200, Bothell, WA 98011, and can be reached at
         1.866.357.4358.

         The report may contain information bearing on your character, general reputation,
         personal characteristics, mode of living and/or credit standing. The information
         that may be included in your report include: social security number trace,
         authorization to work checks, criminal records checks, civil records checks,
         financial information and credit checks (Experian U.S. Credit), federal record
         checks, public court record checks, driving records checks, drug tests, physical
         tests, educational records checks, employment history verification, references
         checks, sanction, licensing and certification checks.

         The information contained in the report will be obtained from private and/or
         public record sources, including sources identified by you in your job application
         or through interviews or correspondence with your past or present coworkers,
         neighbors, friends, associates, current or former employers, educational
         institutions or other acquaintances. You have the right, upon written request made
         within a reasonable time after receipt of this notice, to request disclosure of the
         nature and scope of any investigative consumer report from the Company.

Mitchell, 379 F. Supp. 3d at 1098.



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“‘reasonably understandable’ . . . and therefore ‘clear’ under Section 1681b(b)(2)(A)(i) of the

FCRA.” Id. (internal citation omitted).

       Here, at the outset, the parties disagree over how much of the document that Fred Meyer

provided to plaintiff is subject to this court’s “clear and conspicuous” analysis. While Walker

urges a full review of all five paragraphs, Fred Meyer argues that this court’s analysis should be

limited to the first three paragraphs because the Ninth Circuit directed this court to do so. In its

opinion, the Ninth Circuit held that paragraphs four and five had been improperly included under

the FCRA’s standalone requirement and then instructed this court, on remand, to “decide in the

first instance whether the remaining language of the Disclosure satisfies the separate ‘clear and

conspicuous’ requirement provided in that same section.” Walker, 953 F.3d at 1095 (emphasis

added). Even more specifically, the Ninth Circuit stated, “we decline to reach the issue of

whether the first through third paragraphs of the Disclosure satisfy the FCRA’s ‘clear and

conspicuous’ requirement . . . [and] leave it to the district court to determine in the first instance

whether the language of those paragraphs is sufficiently clear under the reasonable person

standard set forth in Gilberg.” Id. at 1091.

       Despite these clear directives, Walker insists there is no reason to remove paragraphs four

and five from the ambit of this court’s review, and points out that Gilberg itself illustrates a

court’s ability to review a given section of a disclosure form for compliance with both the

standalone and clear and conspicuous requirements. See 913 F.3d 1169 (analyzing a disclosure

form under the FCRA and finding the same section violated both the standalone and clear and

conspicuous requirement). While the Ninth Circuit may have taken different approaches in

Gilberg and Walker, its instructions to this court are plain, and it is well established that “‘[a]

district court, upon receiving the mandate of an appellate court ‘cannot vary it or examine it for




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any other purpose than execution.’” United States v. Cote, 51 F.3d 178, 181 (9th Cir. 1995), as

amended on denial of reh’g (June 2, 1995) (quoting In re Sanford Fork & Tool Co., 160 U.S.

247, 255 (1895)); accord Stamper v. Baskerville, 724 F.2d 1106, 1107 (4th Cir. 1984)). The

court therefore proceeds with the ‘clear and conspicuousness’ analysis in the manner specified

by the Ninth Circuit and limits review to the first three paragraphs of the document.

       The operative three paragraphs of Fred Meyer’s disclosure provide:

       We ([t]he Kroger family of companies) will obtain one or more consumer reports
       or investigative consumer reports (or both) about you for employment purposes.
       These purposes may include hiring, contract, assignment, promotion,
       reassignment, and termination. The reports will include information about your
       character, general reputation, personal characteristics, and mode of living.

       We will obtain these reports through a consumer reporting agency. The consumer
       reporting agency is General Information Services, Inc. GIS's address is P.O. Box
       353, Chapin, SC 29036. GIS's telephone number is (866) 265-4917. GIS's website
       is at www.geninfo.com.

       To prepare the reports, GIS may investigate your education, work history,
       professional licenses and credentials, references, address history, social security
       number validity, right to work, criminal record, lawsuits, driving record and any
       other information with public or private information sources.

Mot. 3, ECF 57.

       In Walker’s Response to Fred Meyer’s Partial Motion for Summary Judgment, Walker

agrees with the ‘clear and conspicuous’ legal standards set forth above and argues, under

Gilberg, that the disclosure is not clear because the last phrase in the last paragraph that refers to

“any other information with public or private information sources” is “not reasonably

understandable.” Resp. 8, ECF 58. Walker contends that this “ambiguous language” offers “no

clue as to the difference between a ‘public information source’ and a ‘private information

source,’” and could “certainly confuse the average reader.” Resp. 7, ECF 57.




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       However, Walker offers limited reasoning and no legal authority to support his

contention. He also overlooks the distinct lack of confusion expressed by the Ninth Circuit in

commenting that the three paragraphs—including the final phrase—“elucidate what it means to

‘obtain’ a consumer report by providing helpful information about who will provide such a

report to Fred Meyer and what private and public information about the applicant will be

examined to create a ‘consumer report.’” 5 Walker, 953 F.3d at 1090. As Fred Meyer points out,

the final phrase, read in context, “alerts the consumer” that the investigative agency, GIS, “may

conduct a robust search of sources”—which could help “the consumer decide whether or not to

authorize the report.” Def. Reply Supp. Mot. Partial Summ. J. 24, ECF 62. Thus, the final phrase

meets the “reasonably understandable” test in Gilberg. See 913 F.3d at 1177.

       Further, it is clear that the disclosure as a whole does not suffer from grammatical errors

or the kind of vague language the court found problematic in Gilberg. See 913 F.3d at 1177. Nor

does the disclosure include any information regarding state laws that would “confuse a

reasonable reader,” like those in Gilberg. See id. Instead, Fred Meyer’s disclosure is much more

akin to Winco’s disclosure in Mitchell, which provided applicants with helpful information about

what information will be collected, who will be collecting the information, and how the

information will be obtained. 379 F. Supp. 3d at 1100; see Walker, 953 F.3d at 1090. Because

the Fred Meyer’s disclosure meets the “reasonably understandable” criteria set forth in Gilberg

and closely parallels the disclosure that another district court found clear in Mitchell, this court




5
  While the Ninth Circuit’s commentary is not dipositive in that the observations were made in
the context of analyzing the disclosure’s compliance with the term “disclosure” and not
regarding the “clear and conspicuous” requirement, it provides helpful insight.


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has no trouble finding Fred Meyer’s disclosure to be “a model of clarity.” See Mitchell, 379 F.

Supp. 3d at 1100. 6

       With respect to the second prong, Walker does not dispute that “conspicuous means

‘readily noticeable to the consumer.’” Resp. 6, ECF 58 (citing Gilberg, 913 F.3d at 1177). In

Gilberg, the court found the disclosure conspicuous because it “labeled the form so an applicant

could see what she was signing.” Id. at 1177. Because the disclosure also used legible font,

placed all relevant information on the front page, and included headings that helped applicants

understand the form, the court held, “[t]he disclosure, therefore, is conspicuous.” Id.

       Here, Fred Meyer’s disclosure also is “conspicuous.” First, the disclosure paragraphs are

confined to a single page surrounded by ample whitespace and are preceded by a clear title,



6
 In declining to review paragraphs four and five, the court is mindful that Walker takes
particular issue with the last sentence of paragraph five on the issue of clarity and alleges
multiple deficiencies therein. See Resp. 8, ECF 58. Paragraphs four and five of Fred Meyer’s
disclosure form provide:

       You may inspect GIS’s files about you (in person, by mail, or by phone) by
       providing identification to GIS. If you do, GIS will provide you help to
       understand the files, including communication with trained personnel and an
       explanation of any codes.

       Another person may accompany you by providing identification. If GIS obtains
       any information by interview, you have the right to obtain a complete and
       accurate disclosure of the scope and nature of the investigation performed.

Mot. Dismiss, Ex. C, ECF 24-3.
         However, even if the court found that any of the language in paragraphs four and five
violated the clear and conspicuous requirement, that finding alone would not help Walker prevail
in this action. Walker seeks only statutory damages, and a plaintiff can only recover such
damages under the FCRA upon proof of willfulness. See 15 U.S.C. § 1681n(a); Compl., ECF 1.
Given the standards for willfulness in Safeco, as discussed below, and the past lack of guidance
concerning the meaning of “clear” under the FCRA, it is unlikely that a court would find that
Fred Meyer willfully violated the FCRA by including the language in paragraphs four and five.
See id.; see also, Mitchell v. WinCo Foods, LLC, 828 F. App’x 467, 468 (9th Cir. 2020) (citing
Safeco and holding an FCRA violation non-willful due to a “‘dearth of guidance’” at the time the
defendant provided the plaintiff with the disclosure).


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“Disclosure Regarding Consumer Reports and Investigative Consumer Reports.” See ECF 24-3.

The disclosure uses legible, clear font. Id. Walker agrees that “the question of conspicuousness is

centered on formatting and presentation” and concedes that “[Fred Meyer] may have made its

disclosure conspicuous by presenting it on its own page and with a heading[.]” Resp. 6, ECF 58.

Thus, there is no question that Fred Meyer’s disclosure is conspicuous as a matter of law. See

Mitchell, 379 F. Supp. 3d at 1177 (finding the disclosure at issue ‘readily noticeable’ because it

contained helpful labels, separated topics by paragraph, and provided sufficient “whitespace such

that [it didn’t] appear cluttered or intimidating to the reader”); see also Burghy v. Dayton

Racquet Club, Inc., 695 F. Supp. 2d 689 (S.D. Ohio 2010) (analyzing at length the manner in

which a disclosure was presented—i.e., text, font, layout—and ultimately concluding that the

disclosure was conspicuous under the FCRA and granting summary judgment).

V.     Fred Meyer Did Not Act Willfully or Recklessly.

       Fred Meyer acknowledges the Ninth Circuit held that the final two paragraphs in its

original disclosure failed to comply with the standalone provision of the FCRA. See Walker, 953

F.3d at 1091. In light of that ruling, Fred Meyer now seeks a declaration from this court that its

violation was not willful as a matter of law. Mot. 12-21, ECF 57.

       An FCRA violation is “willful” under 15 U.S.C. § 1681n if it is made either knowingly or

with “reckless disregard” for the requirements imposed under the Act. See Safeco, 551 U.S. 56-

60. An employer acts in “reckless disregard” when “the action is not only a violation under a

reasonable reading of the statute’s terms, but shows that the company ran a risk of violating the

law substantially greater than the risk associated with a reading that was merely careless.” Id. at

69.




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        In Safeco, the Supreme Court examined whether two insurance companies, GEICO and

Safeco, had committed “reckless violations” of the adverse action notice requirement under the

FCRA. Id. at 52; see 15 U.S.C. §§ 1681m(a), 1681a(k)(1)(B)(i). In the end, the Court ruled, “it is

clear enough that if Safeco did violate the statute, the company was not reckless in falling down

on its duty.” 551 U.S. at 68. In its analysis, the Court found the Act was “silent” on the meaning

of the contested terms and noted that the defendant had not had “the benefit of guidance from the

courts of appeals or the Federal Trade Commission . . . that might have warned it away from the

view that it took.” Id. at 69-70. The Court also “recognize[d] that [Safeco’s] reading has a

foundation in the statutory text,” and found, ultimately, that Safeco’s interpretation, “albeit

erroneous, was not objectively unreasonable.” Id. at 69. Thus, the Court held, Safeco’s

misreading of the statute “was not reckless.” Id. at 71.

        In Syed, the Ninth Circuit applied Safeco’s “reckless disregard” standard and held that the

inclusion of a liability waiver in a disclosure document constituted a “willful” violation of the

FCRA. 853 F.3d at 503-506. The Ninth Circuit rejected the defendant’s characterization of the

statutory language as “ambiguous,” id. at 500, and found its liability waiver directly at odds with

the FCRA’s “basic purpose” of consumer protection. Id. at 502. After finding the operative

section of the FCRA was “not subject to a range of plausible interpretations” and emphasizing

that it “unambiguously bars” the inclusion of a liability waiver, the court concluded, “this is not a

‘borderline case.’” Id. at 505-506 (citing Cortez v. Trans Union, LLC, 617 F.3d 688, 722 (3rd

Cir. 2010). Accordingly, the court found that the defendant had acted in “‘reckless disregard of

statutory duty’” and held its violation was “therefore willful” under 15 U.S.C. § 1681n.

Id. at 506.




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       Here, under Safeco and Syed, Fred Meyer’s disclosure was not based on an “objectively

unreasonable” interpretation of FCRA’s standalone requirement at the time Walker applied for a

position. Put another way, it was not unreasonable for Fred Meyer to provide Walker with a

disclosure in March 2017 that contained information about an applicant’s rights, despite the fact

that the Ninth Circuit held in 2020, based on intervening caselaw, that such information now

violates the standalone requirement. Thus, while Walker insists that the FCRA’s standalone

provision “is unambiguous, and . . . has been for decades,” he fundamentally misconstrues the

Ninth Circuit’s analysis of the issues on appeal and ignores the timing of Ninth Circuit cases that

specifically addressed and defined operative terms in the standalone provision. See Resp. 10,

ECF 58.

       A brief overview of the Ninth Circuit’s analysis in Walker is instructive and sheds light

on Fred Meyer’s reasonable efforts to comply with the FCRA. See 493 F.3d 1082. First, the court

made it clear that it was addressing “as a matter of first impression” what qualifies as a part of

the “disclosure” specified in the FCRA’s standalone requirement. Id. at 1084. Next, after noting

that this court had found Fred Meyer’s disclosure compliant with the FCRA based on then-

existing legal authority, the court further explained, “[a]fter this case was appealed . . . the Ninth

Circuit decided Gilberg, which forecloses the district court’s interpretation[.]” Id. at 1088. The

court then held, for the first time, that the FCRA’s standalone provision means that, “beyond a

plain statement disclosing ‘that a consumer report may be obtained for employment purposes,’

some concise explanation of what that phrase means may be included” as part of the required

disclosure. Id. Based on that definition, the court ruled the last two paragraphs in Fred Meyer’s

disclosure failed to comply with the standalone requirement and “should have been provided in a




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separate document” despite the fact that they appeared to have been included “in good faith.” Id.

at 1089-1090.

        Although the Ninth Circuit found part of Fred Meyer’s disclosure in violation of the

FCRA, it also noted that the “extraneous” language appeared “to provide additional useful

information about an applicant’s rights,” and added, “we understand Fred Meyer’s reasons for

providing this information.” Id. at 1090-1091. By contrast, in Syed, the Ninth Circuit found the

noncompliant liability waiver “would frustrate Congress’s goal of guarding a job applicant’s

right[s]” and that it “comports with no reasonable interpretation” of the FCRA. 853 F.3d at 502,

504. Thus, the Ninth Circuit discussion—far from affirming the FCRA’s “unambiguous”

standalone requirements as Walker claims—actually shows that the standalone requirements

were certainly “less-than-pellucid” at the time of Walker’s application for employment. Safeco,

551 U.S. at 70. 7

       Further, following Walker, the Ninth Circuit issued an unpublished opinion in Mitchell v.

WinCo Foods, LLC, 828 F. App’x 467 (9th Cir. 2020), that referenced Walker, cited Safeco, and

held that the FCRA violation in that case “was not willful because there was a ‘dearth of

guidance’ as to the definition of ‘disclosure’ and ‘solely’ at the time Defendant provided the

disclosure to Plaintiff.” Id. While Mitchell is not controlling precedent, it offers helpful insight

into the Ninth Circuit’s view of its analysis in Walker. Because the Ninth Circuit in Walker

defined the term ‘disclosure’ in the FCRA for the first time, it is not possible, under the facts of




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  Like the Seventh Circuit noted in Murray v. New Cingular Wireless Servs., Inc., this court
recognizes the likelihood that Fred Meyer’s FCRA violation “would be reckless today” given
intervening legal authority. 523 F3d 719, 727 (2008) (emphasis in original). Nonetheless, Fred
Meyer’s violation “falls well short of raising the ‘unjustifiably high risk’ of violating the statute
necessary for reckless liability.” Safeco, 551 U.S. at 50.


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this case, to find Fred Meyer’s pre-Walker interpretation of that term “objectively unreasonable.”

See Safeco, 551 U.S. at 69, 70 n.20.

       Therefore, there is no genuine issue of material fact regarding the question of willfulness,

and, as a matter of law, Fred Meyer did not act willfully when it provided Walker with a

disclosure that failed to comply completely with the FCRA’s standalone requirement. See Moran

v. Screening Pros, LLC, No. 2:12-cv-05808-SVW-AGR, 2020 WL 4724307, at *5 (C.D. Cal.

July 30, 2020) (finding the defendant’s misinterpretation of the FCRA was “not objectively

unreasonable” and granting defendant’s motion for summary judgment on that question).

                                   RECOMMENDATIONS

       Defendant’s motion for partial summary judgment (ECF 57) should be granted.

                                    SCHEDULING ORDER

       These Findings and Recommendations will be referred to a district judge. Objections, if

any, are due Friday, August 27, 2021. If no objections are filed, then the Findings and

Recommendations will go under advisement on that date.

       If objections are filed, then a response is due within 14 days after being served with a

copy of the objections. When the response is due or filed, whichever date is earlier, the Findings

and Recommendations will go under advisement.

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                                            NOTICE

       These Findings and Recommendations are not an order that is immediately appealable to

the Ninth Circuit Court of Appeals. Any Notice of Appeal pursuant to Rule 4(a)(1), Federal

Rules of Appellate Procedure, should not be filed until entry of a judgment.

       DATED August 13, 2021.



                                                                   /s/ Youlee Yim You
                                                              Youlee Yim You
                                                              United States Magistrate Judge




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